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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


UNITED STATES OF AMERICA
                                                                    No. 09 CR 669-17
                 v.                                               Judge James B. Zagel

EDWARD SMITH.

                         MEMORANDUM OPINION AND ORDER

       Edward Smith seeks a sentence reduction. Although Amendment 782 did lower some

guideline ranges, it did not affect Edward Smith’s guideline range because of the large quantity

of cocaine involved for which he stands guilty. I deny his motion for a sentence reduction.

                                                    ENTER:




                                                    James B. Zagel
                                                    United States District Judge

DATE: January 19, 2016




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